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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. MJ 13-149
 9
                                   Plaintiff,
10
            v.
11                                                        DETENTION ORDER
12   WILABALDO HERNANDEZ-PARDO,

13                                 Defendant.

14
     Offense charged:
15
            Count 1:        Conspiracy to Distribute a Controlled Substance, in violation of 21
16
                            U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846
17
            Count 2:        Possession with Intent to Distribute Methamphetamine, in violation of
18                          21 U.S.C.§§ 841(a)(1), 841(b)(1)(B), and 18 U.S.C. § 2

19   Date of Detention Hearing: March 19, 2013
20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

22          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
24                  defendant is a flight risk and a danger to the community based on the nature of
25                  the pending charges. Application of the presumption is appropriate in this case.
26


     DETENTION ORDER
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           2.    An immigration detainer has been placed on defendant by the United States
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                 Immigration and Customs Enforcement.
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           3.    Defendant has stipulated to detention, but reserves the right to contest his
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                 continued detention if there is a change in circumstances.
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           4.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
 7
                 safety of the community.
 8
           IT IS THEREFORE ORDERED:
 9
           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
12
                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
15
           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
19
           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
22
           DATED this 20th day of March, 2013.


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                                                JAMES P. DONOHUE
25                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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